                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                               Eastern Division

Flava Works, Inc
                                         Plaintiff,
v.                                                     Case No.: 1:17−cv−08102
                                                       Honorable Harry D. Leinenweber
Black Rayne Productions, Inc., et al.
                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, January 9, 2018:


       MINUTE entry before the Honorable Harry D. Leinenweber: Status hearing set for
2/27/18 at 9:00 a.m. Mailed notice(maf)




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